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                 18                         UNITED STATES DISTRICT COURT
                 19                       CENTRAL DISTRICT OF CALIFORNIA
                 20                                WESTERN DIVISION
                 21
                 22    IN RE ETHEREUMMAX                        Lead Case No. CV 22-163 MWF (SKx)
                       INVESTOR LITIGATION
                 23                                             DEFENDANTS’ NOTICE OF MOTION AND
                       ______________________________           OMNIBUS MOTION TO DISMISS THE
                 24                                             CONSOLIDATED CLASS ACTION
                       This Document Relates to:                COMPLAINT; MEMORANDUM OF POINTS
                 25                                             AND AUTHORITIES
                          ALL ACTIONS.
                 26                                             Judge:   Hon. Michael W. Fitzgerald
                 27                                             Date:    October 17, 2022
                                                                Time:    10:00 a.m.
                 28
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                                                                                        DEFS.’ MOT. TO DISMISS
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                   1                                  Place:   First Street Courthouse,
                   2                                           Courtroom 5A

                   3                                  Complaint Filed:    January 7, 2022
                   4                                  Trial Date:         Not Scheduled

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                   1                        NOTICE OF MOTION AND MOTION
                   2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   3         PLEASE TAKE NOTICE that on October 17, 2022, at 10:00 a.m., or as soon
                   4   thereafter as the matter may be heard, in the courtroom of Honorable Michael W.
                   5   Fitzgerald, United States District Judge, Central District of California, located at 350
                   6   West First Street, Los Angeles, California 90012, the undersigned Defendants
                   7   Russell Davis, Steven Gentile, Kimberly Kardashian, Justin Maher, Giovanni
                   8   Perone, and Paul Pierce (collectively, “Defendants”), will, and hereby do, move the
                   9   Court for an order dismissing Plaintiffs’ Consolidated Class Action Complaint (ECF
                 10    No. 41) (the “CCAC”).
                 11          This Motion is made pursuant to Federal Rules of Civil Procedure 9(b)
                 12    and 12(b)(6), and is based on this Notice of Motion and Motion, the
                 13    accompanying Memorandum of Points and Authorities, the pleadings and
                 14    evidence on file in this matter, oral argument of counsel, and such other materials
                 15    and argument as may be presented in connection with the hearing of the Motion.
                 16          Pursuant to Civil Local Rule 7-3, on July 21, 2022, counsel for the parties met
                 17    and conferred regarding this Motion.
                 18                        STATEMENT OF RELIEF REQUESTED
                 19          Defendants request that the Court dismiss the claims in the CCAC pursuant to
                 20    Federal Rules of Civil Procedure 9(b) and 12(b)(6).
                 21                                 ISSUES TO BE DECIDED
                 22          Whether the CCAC should be dismissed under Federal Rules of Civil
                 23    Procedure 9(b) and 12(b)(6) due to Plaintiffs’ failure to adequately plead fraud and
                 24    failure to state any claim against Defendants upon which relief may be granted.
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                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.    INTRODUCTION
                   3         This lawsuit is a misguided attempt by Plaintiffs to extract a monetary windfall
                   4   from the Defendants due to Plaintiffs’ decisions to purchase a highly speculative and
                   5   volatile cryptocurrency. The CCAC must be dismissed for at least nine reasons.
                   6         First, Plaintiffs fail to state a federal Racketeer Influenced and Corrupt
                   7   Organizations Act (“RICO”) claim. Plaintiffs lack statutory standing to sue under
                   8   RICO because they have no cognizable property injury and fail to allege racketeering
                   9   activity that caused any injury. Even assuming Plaintiffs had standing, however, the
                 10    CCAC plainly fails to allege the necessary elements of a civil RICO claim.
                 11          Second, the Plaintiffs who do not reside in California lack standing to assert
                 12    claims under California law precisely because they do not reside in California and
                 13    they do not allege suffering any injury in California.
                 14          Third, Plaintiffs fail to state a claim under any of the state consumer statutes
                 15    because they do not plead threshold requirements necessary to state a claim.
                 16    Plaintiffs do not allege facts showing that they actually relied on the alleged
                 17    statements or omissions and thus they lack statutory standing under the Unfair
                 18    Competition Law (“UCL”), California Consumer Legal Remedies Act (“CLRA”), or
                 19    False Advertising Law (“FAL”). Plaintiffs otherwise fail to allege facts showing that
                 20    Defendants’ conduct caused their alleged injuries and thus they do not state Florida
                 21    Deceptive and Unfair Trade Practices Act (“FDUTPA”), New York General
                 22    Business Law (“N.Y. GBL”), or New Jersey Consumer Fraud Act (“N.J. CFA”)
                 23    claims.
                 24          Fourth, Plaintiffs fail to state a claim under any of the state consumer statutes
                 25    because none of the alleged misrepresentations or omissions that Plaintiffs challenge
                 26    are actionable.
                 27          Fifth, Plaintiffs fail to state a UCL claim. Plaintiffs’ unlawful prong claim
                 28    fails because they have not stated a violation of another law. Plaintiffs’ unfair prong
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                   1   claim fails because their allegations of unfair conduct are wholly conclusory, do not
                   2   plausibly demonstrate that any Defendant engaged in unfair conduct, and otherwise
                   3   rely on the same alleged conduct that fails to state an unlawful prong claim.
                   4         Sixth, Plaintiffs cannot state a CLRA claim because, as other courts have
                   5   already held, virtual currency like the EMAX Token is not a good or service within
                   6   the CLRA’s meaning.
                   7         Seventh, Plaintiffs fail to state a common law aiding and abetting claim
                   8   because they have not plausibly alleged that Defendants committed any civil wrong.
                   9   Moreover, Plaintiffs fail to allege any non-conclusory factual allegations
                 10    demonstrating that any Defendant had actual knowledge of the alleged civil wrongs,
                 11    or substantially assisted the commission of those wrongs.
                 12          Eighth, Plaintiffs fail to state a common law conspiracy claim because they do
                 13    not allege that the Defendants committed an independent civil wrong. Moreover,
                 14    Plaintiffs do not plead specific factual allegations plausibly demonstrating the
                 15    formation of or agreement to an alleged conspiracy.
                 16          Ninth, Plaintiffs fail to state a claim for equitable relief. While Plaintiffs
                 17    purport to assert a standalone claim for unjust enrichment, no such claim exists under
                 18    California law. Plaintiffs’ claims for equitable relief are otherwise insufficient
                 19    because they do not plead that they lack an adequate remedy at law.
                 20          In sum, the CCAC should be dismissed against all moving Defendants.
                 21    II.   RELEVANT BACKGROUND
                 22          A.     EthereumMAX and the EMAX Token.
                 23          EthereumMAX (“EMAX”) is a cryptocurrency project centered around the
                 24    EMAX Token, a blockchain-based digital asset. (CCAC ¶¶ 31–32.) EMAX Tokens
                 25    function like other popular digital cryptocurrencies—they can be traded, spent, or
                 26    otherwise transacted between token holders. (Id. ¶ 32.) The EMAX Token can be
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                   1   purchased or sold through online exchanges,1 and is primarily traded against the
                   2   cryptocurrency “Ether”—the native currency of the Ethereum blockchain network,
                   3   which has a roughly $190 billion market capitalization at the time of this filing.2 (Id.
                   4   ¶¶ 33–35.) The EMAX Token launched in May 2021. (Id. ¶ 40.) It was created
                   5   “with a vision to bridge the gap between the emergence of community-driven tokens
                   6   and the well-known foundational coins of crypto.” (Id. ¶ 44.) The EMAX Token
                   7   price has fluctuated since its launch due to Token holders’ trading and other external
                   8   market conditions. (See, e.g., id. ¶¶ 40, 51, 60, 92.) Plaintiffs allege that the EMAX
                   9   Token price “artificially increase[d]” because of Defendants’ conduct, “causing
                 10    investors to purchase their losing investments at inflated prices.” (Id. ¶ 4.)
                 11          B.     The Individual Defendants.3
                 12          The CCAC does not name the “corporate entity behind EthereumMAX and the
                 13    EMAX Tokens” because it is allegedly “unknown to Plaintiffs.” (Id. ¶ 25.) However,
                 14    “upon information and belief,” Plaintiffs allege EthereumMAX’s headquarters and
                 15    principal place of business is in California. (Id. ¶ 128.) The CCAC identifies five
                 16    Individual Defendants. Four individuals—Justin Maher, Steve Gentile, Giovanni
                 17    Perone, and Mike Speer—are allegedly “co-founder/creator[s]” of EthereumMAX
                 18    who “exercised control over EthereumMAX and directed and/or authorized, directly
                 19    or indirectly, the sale and/or solicitations of EMAX Tokens to the public.” (Id.
                 20    ¶¶ 15–18.)    Justin French allegedly “served as a consultant, developer, and
                 21
                 22
                 23    1
                         Plaintiffs note that EMAX Tokens are not currently traded on certain “popular
                 24    centralized exchanges,” and instead token holders rely on “decentralized
                       exchanges . . . which use liquidity pools and smart contracts to allow investors to
                 25    exchange one asset for another one without a direct counterparty.” (CCAC ¶ 34.)
                       Plaintiffs do not explain how these features of different cryptocurrency exchanges
                 26    are relevant to their claims against Defendants.
                       2
                 27      See https://www.coindesk.com/price/ethereum/ (last visited July 27, 2022).
                       3
                         Defendants use the term “Individual Defendants” instead of the CCAC’s reference
                 28    to the “Executive Defendants.”
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                   1   spokesman for EthereumMAX.” (Id. ¶ 19.)4 Although none of the Individual
                   2   Defendants allegedly resides in California, Plaintiffs allege that “California is . . . the
                   3   state from which [these] Defendants’ alleged misconduct emanated.” (Id. ¶ 129.)
                   4         C.     The Celebrity Defendants.5
                   5         Apart from the Individual Defendants, the CCAC names five celebrities—Kim
                   6   Kardashian, Floyd Mayweather, Jr., Paul Pierce, Russell Davis, and Antonio Brown
                   7   (the “Celebrity Defendants”)—who allegedly promoted the EMAX Token to the
                   8   public. (Id. ¶¶ 20–24.) Kardashian, Mayweather, Pierce, Davis, and Brown are
                   9   widely known sports and entertainment figures. Plaintiffs claim the Individual
                 10    Defendants “collaborat[ed]” and “conspired” with the Celebrity Defendants “to
                 11    artificially increase” the price of EMAX Tokens. (Id. ¶¶ 2, 4.) For certain Celebrity
                 12    Defendants (but not all), the CCAC alleges “[u]pon information and belief” that they
                 13    received payment for their alleged promotions. (See id. ¶¶ 66, 102, 105.) Plaintiffs
                 14    also allege that “the [Individual] Defendants were able to and did make similar
                 15    payments to [five] other celebrity promoters . . . to ‘shill’ the EMAX Tokens,” but
                 16    those individuals are not named as defendants in this lawsuit. (Id. ¶ 82.)
                 17          D.     Named Plaintiffs and Putative Class Members.
                 18          The nine Named Plaintiffs are “investors” who reside in New York, California,
                 19    Florida, and New Jersey, and allegedly suffered “investment losses” after purchasing
                 20    EMAX Tokens. (Id. ¶¶ 1, 6–14.) Plaintiffs make boilerplate and identical allegations
                 21    that they incurred losses “[a]fter viewing numerous celebrity endorsements of
                 22    EMAX.” (See id. ¶¶ 6–14.) The Named Plaintiffs do not allege which endorsements
                 23    they saw, when they saw them, which specific Defendants were responsible for the
                 24    endorsements, or how those endorsements led to their purchases of EMAX Tokens.
                 25    Plaintiffs do not allege where or when they purchased EMAX Tokens, or the amount
                 26    4
                         The CCAC also purports to name John Doe Defendants based on alleged “clues”
                 27    derived from deleted online posts and “friend” connections. (CCAC ¶ 26, n. 1.)
                       5
                         Defendants use the term “Celebrity Defendants” instead of the CCAC’s reference
                 28    to “Promotor Defendants.”
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                   1   purchased, or whether they even still possess any EMAX Tokens. Plaintiffs make
                   2   no concrete factual allegations about the amount of losses they allegedly suffered.
                   3          Plaintiffs seek to represent a putative nationwide class of “[a]ll persons who,
                   4   during the Class Period [May 14, 2021 – June 27, 2021, herein the “Relevant
                   5   Period”], purchased EthereumMAX’s EMAX Tokens and were subsequently
                   6   damaged thereby.” (Id. ¶¶ 117–118.) “Plaintiffs believe . . . that the Class consists
                   7   of at least hundreds of people.”      (Id. ¶ 120.)   Plaintiffs assert that California
                   8   substantive law “applies to the entire Class.” (See id. ¶¶ 126–130.)
                   9          E.    Plaintiffs’ Causes of Action.
                 10           The CCAC asserts claims for: (1) the California Unfair Competition Law
                 11    (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq. (all Defendants) (id. ¶¶ 131–136);
                 12    (2) the California Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1770
                 13    (all Defendants) (id. ¶¶ 137–144); (3) aiding and abetting under California common
                 14    law (all Celebrity Defendants) (id. ¶¶ 145–152); (4) the federal Racketeer Influenced
                 15    and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq. (all Defendants)
                 16    (id. ¶¶ 153–186); (5) common law conspiracy (all Defendants) (id. ¶¶ 187–191);
                 17    (6) the California False Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500,
                 18    et seq. (against Kardashian) (id. ¶¶ 192–203); (7) the Florida Deceptive and Unfair
                 19    Trade Practices Act (“FDUTPA”), Ch. 501, § 17200, Fla. Stat. Ann. (all Defendants)
                 20    (id. ¶¶ 204–220); (8) the New York General Business Law (“N.Y. GBL”), Art. 22-
                 21    A, § 349, et seq. (all Defendants); (9) the New Jersey Consumer Fraud Act (“N.J.
                 22    CFA”), NJSA 56:8-1, et seq. (all Defendants) (id. ¶¶ 227–232); and (10) California
                 23    common law “unjust enrichment/restitution” (all Defendants) (id. ¶¶ 233–236).
                 24    III.   LEGAL STANDARDS
                 25           A federal court may dismiss a complaint for failure to state a claim upon which
                 26    relief may be granted. Fed. R. Civ. P. 12(b)(6). To survive a Rule 12(b)(6) motion
                 27    to dismiss, the plaintiff must allege “enough facts to state a claim to relief that is
                 28    plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
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                   1   “[L]abels and conclusions, and a formulaic recitation of the elements of a cause of
                   2   action” are insufficient, id. at 555, and a complaint must offer “more than an
                   3   unadorned, the-defendant-unlawfully-harmed-me accusation,” Ashcroft v. Iqbal, 556
                   4   U.S. 662, 678 (2009).
                   5         Rule 9(b) requires a plaintiff alleging fraud to “state with particularity the
                   6   circumstances constituting the fraud.” Fed. R. Civ. P. 9(b). These “circumstances”
                   7   are the “who, what, when, where, and how” of the alleged fraud. Vess v. Ciba-Geigy
                   8   Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003). “Intent, knowledge, and other
                   9   conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P. 9(b). Rule
                 10    9(b) “protects potential defendants—especially professionals whose reputations in
                 11    their fields of expertise are most sensitive to slander—from the harm that comes from
                 12    being charged with the commission of fraudulent acts.” Semegen v. Weidner, 780
                 13    F.2d 727, 731 (9th Cir. 1985). A court should dismiss “[w]hen an entire complaint,
                 14    or an entire claim within a complaint, is grounded in fraud and its allegations fail to
                 15    satisfy the heightened pleading requirements of Rule 9(b).” Vess, 317 F.3d at 1107.
                 16    IV.   ARGUMENT
                 17          A.     Plaintiffs Fail to State a Federal RICO Claim.
                 18                 1.     Plaintiffs Lack Statutory Standing to Sue Under RICO.
                 19          Section 1964 of RICO provides that “[a]ny person injured in his business or
                 20    property by reason of a violation of section 1962 of this chapter may sue therefor in
                 21    any appropriate United States district court.” 18 U.S.C. § 1964(c). To have standing
                 22    to sue, “a civil RICO plaintiff must show: (1) that his alleged harm qualifies as injury
                 23    to his business or property; and (2) that his harm was ‘by reason of’ the RICO
                 24    violation, which requires the plaintiff to establish proximate causation.” Canyon
                 25    Cnty. v. Syngenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008) (quoting Holmes v.
                 26    Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992)). Plaintiffs do not allege injury to
                 27    business. While any RICO standing in this case is limited to any alleged property
                 28    injury, Plaintiffs have failed to allege such an injury and thus lack RICO standing.
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                   1                           a.   Plaintiffs Lack a Cognizable Property Injury Based on
                   2                                An Expectancy Interest in the EMAX Token’s Value.
                   3          RICO plaintiffs must allege “harm to a specific business or property interest.”
                   4   Diaz v. Gates, 420 F.3d 897, 900 (9th Cir. 2005) (en banc). They must also plead a
                   5   “concrete financial loss.” Chaset v. Fleer/Skybox Int’l, LP, 300 F.3d 1083, 1086–87
                   6   (9th Cir. 2002) (citation and internal quotation marks omitted). “Injury to mere
                   7   expectancy interests . . . is not sufficient to confer RICO standing.” Price v. Pinnacle
                   8   Brands, Inc., 138 F.3d 602, 607 (5th Cir. 1998); see also Chaset, 300 F.3d at 1086
                   9   (9th Cir. 2002); Adell v. Macon Cnty. Greyhound Park, Inc., 785 F. Supp. 2d 1226,
                 10    1238 (M.D. Ala. 2011).
                 11           Plaintiffs’ allegation that they suffered a RICO injury by purchasing EMAX
                 12    Tokens at an artificially inflated price (CCAC ¶ 182) fails because it is premised on
                 13    an expectancy interest regarding the EMAX Token’s value. Plaintiffs rely on the
                 14    alleged value of the EMAX Token after the Relevant Period. While the price
                 15    experienced various highs and lows during the Relevant Period, Plaintiffs’ alleged
                 16    injury is premised on the value of the token on July 15, 2021, an alleged “all-time
                 17    low” of $0.000000017 “from which it has not been able to recover.” (Id. ¶¶ 109,
                 18    111.) Thus, Plaintiffs claim that “investors were left holding worthless tokens” and
                 19    allegedly overpaid for their tokens. (Id. ¶ 109.) The focus on the EMAX Token’s
                 20    alleged value after the Relevant Period can only be explained by Plaintiffs’
                 21    expectation that the Token would gain value after their alleged purchases. Indeed,
                 22    Plaintiffs repeatedly point to alleged endorsements and statements regarding the rise
                 23    in the EMAX Token’s value and the ability to sell EMAX Tokens for a profit. (See,
                 24    e.g., id. ¶¶ 71, 79.)
                 25           Plaintiffs’ expectancy interest is an insufficient injury under RICO. Akin to
                 26    the scenario described in Chaset v. Fleer/Skybox Int’l, LP, an individual purchasing
                 27    an EMAX Token enters into a bargain whereby in return for payment the purchaser
                 28    receives a Token and the chance that the value of the Token will increase, stay the
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                   1   same, or even decrease. See 300 F.3d at 1086. This bargain delivers actual value to
                   2   each party because the chance itself has value regardless of whether or not the value
                   3   of the Token decreases at a later point. Just as a Token purchaser may experience a
                   4   decrease in the value of the token, the purchaser may also find that the Token has
                   5   increased in value. Indeed, during the Relevant Period, the EMAX Token allegedly
                   6   experienced increases in value. (See CCAC ¶ 112.) At the time that Plaintiffs
                   7   purchased their Tokens, they received exactly what they paid for—the Tokens they
                   8   received were assets that had the chance of a higher value. Plaintiffs’ disappointment
                   9   with the alleged decrease in the Token’s value after their purchase cannot confer
                 10    standing for a civil RICO claim, particularly since there is no dispute that Plaintiffs
                 11    actually acquired the EMAX Tokens that they sought to purchase. See Chaset, 300
                 12    F.3d at 1086–87.
                 13                        b.     Plaintiffs Fail to Allege that Any Racketeering Activity
                 14                               Proximately Caused Any Alleged Injury.
                 15          Causation must be both “but for” and proximate to assert a civil RICO claim.
                 16    Holmes, 503 U.S. at 268. “Proximate cause for RICO purposes . . . requires some
                 17    direct relation between the injury asserted and the injurious conduct alleged” and a
                 18    “link that is too remote, purely contingent, or indirect is insufficient.” Hemi Grp.,
                 19    LLC v. City of New York, N.Y., 559 U.S. 1, 9 (2010) (internal quotation marks and
                 20    citations omitted). “When a court evaluates a RICO claim for proximate causation,
                 21    the central question . . . is whether the alleged violation led directly to the plaintiff’s
                 22    injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006). A plaintiff
                 23    injured only “indirectly” by a defendant’s conduct, such as through harms passed on
                 24    by a third party, is “generally said to stand at too remote a distance to recover.”
                 25    Holmes, 503 U.S. at 268–69. Three non-exhaustive factors determine whether the
                 26    RICO proximate causation requirement has been met: (1) whether there are more
                 27    direct victims of the alleged wrongful conduct who can be counted on to vindicate
                 28    the law as private attorneys general; (2) whether it will be difficult to ascertain the
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                   1   amount of the plaintiff’s damages attributable to defendant’s wrongful conduct; and
                   2   (3) whether the courts will have to adopt complicated rules apportioning damages to
                   3   obviate the risk of multiple recoveries. Sybersound Records, Inc. v. UAV Corp., 517
                   4   F.3d 1137, 1148 (9th Cir. 2008). These factors, when applied to the allegations here,
                   5   weigh against proximate causation.
                   6          As discussed infra Section IV.A.2.c, Plaintiffs do not plead any predicate acts.
                   7   Thus, they cannot plead proximate causation between those acts and the alleged
                   8   injuries.
                   9          Plaintiffs’ allegations are otherwise insufficient because, for several reasons,
                 10    it will be difficult for the Court to ascertain whether and to what extent Plaintiffs’
                 11    alleged damages are attributable to Defendants’ conduct, rather than other
                 12    independent events. First, Plaintiffs’ allegations show that the EMAX Token—like
                 13    other cryptocurrencies—was highly “volatile,” “speculative,” and “a risky financial
                 14    instrument.” (See CCAC ¶¶ 94 (alluding to investor concerns about the volatility of
                 15    the EMAX Token price), 99, 115.) Second, Plaintiffs’ allegations demonstrate that
                 16    the value of the EMAX Token is highly sensitive to and dependent on trading, i.e.,
                 17    third-party conduct.    (Id. ¶¶ 108, 110.)     Third, and relatedly, Plaintiffs’ own
                 18    allegations suggest that any injury is attributable to the conduct of third parties
                 19    exercising poor investment judgment, rather than Defendants’ alleged conduct. (See
                 20    id. ¶ 115.) All these considerations will make it impossible for the Court to attribute
                 21    any alleged damages to each of the various Defendants.
                 22           Similarly, Plaintiffs cannot demonstrate proximate causation to support their
                 23    RICO claim because, irrespective of any third-party conduct, it would be far too
                 24    complex for the Court to apportion damages to each Plaintiff for each Defendant’s
                 25    own alleged misconduct. See Club One Casino, Inc. v. Sarantos, No. 1:17-cv-00818-
                 26    DAD-SAB, 2018 WL 4719112, at *6 (E.D. Cal. Sept. 28, 2018), aff’d sub nom. Club
                 27    One Casino, Inc. v. Perry, 837 F. App’x 459 (9th Cir. 2020). Indeed, the Court would
                 28    need to engage in a complicated and speculative exercise to apportion damages
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                   1   amongst the Defendants for their alleged role and responsibility, while also
                   2   attempting to parse other causes of Plaintiffs’ alleged losses.
                   3         Because Plaintiffs cannot demonstrate proximate causation under RICO, the
                   4   Court should dismiss their RICO claim for lack of statutory standing.
                   5                2.     Plaintiffs Fail to Plead a Plausible RICO Claim.
                   6         To plead a civil RICO claim based on a pattern of racketeering activity,
                   7   Plaintiffs must allege: (1) conduct (2) of an enterprise (3) through a pattern (4) of
                   8   racketeering activity (known as predicate acts) (5) causing injury to plaintiff’s
                   9   business or property. United Bhd. of Carpenters & Joiners of Am. Bldg. v. Constr.
                 10    Trades Dep’t, AFL-CIO, 770 F.3d 834, 837 (9th Cir. 2014).
                 11          Rule 9(b) applies to the fraudulent conduct relevant to the alleged common
                 12    purpose of the enterprise and the alleged predicate acts, and thus requires a
                 13    heightened showing of the circumstances of fraudulent acts, including “the time,
                 14    place, and specific content of the false representations as well as the identities of the
                 15    parties to the misrepresentation.” Schreiber Distrib. Co. v. Serv-Well Furniture Co.,
                 16    806 F.2d 1393, 1401 (9th Cir. 1986). Rule 9(b) “does not allow a complaint to merely
                 17    lump multiple defendants together,” but requires plaintiffs to “differentiate” their
                 18    allegations to “inform” each defendant separately of the allegations particular to that
                 19    defendant’s alleged participation in the fraud. Swartz v. KPMG LLP, 476 F.3d 756,
                 20    764–65 (9th Cir. 2007). When “a fraud suit involv[es] multiple defendants, a plaintiff
                 21    must . . . identif[y] the role of [each] defendant[ ] in the alleged fraudulent scheme.”
                 22    Id. at 765 (internal quotation marks and citation omitted). Plaintiffs do not plausibly
                 23    allege the elements of a civil RICO claim and fail to meet Rule 9(b)’s requirements.
                 24                        a.     Plaintiffs Fail to Allege a RICO Enterprise.
                 25          Plaintiffs claim that the Individual Defendants and the Celebrity Defendants
                 26    allegedly formed an associated-in-fact enterprise. (CCAC ¶¶ 156–57.)                 “[A]n
                 27    association-in-fact enterprise is ‘a group of persons associated together for a common
                 28    purpose of engaging in a course of conduct.’” Boyle v. United States, 556 U.S. 938,
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                   1   946 (2009) (citation omitted). In the Ninth Circuit, there are three requirements to
                   2   plead an associated-in-fact enterprise: (1) a common purpose, (2) an ongoing
                   3   organization, formal or informal, and (3) a continuing unit. Odom v. Microsoft Corp.,
                   4   486 F.3d 541, 551 (9th Cir. 2007) (en banc). Plaintiffs fail to plead any of these three
                   5   requirements.
                   6                             (1)    Plaintiffs Do Not Plead a Common Purpose.
                   7         Plaintiffs fail to plausibly allege that the Defendants had a common purpose
                   8   because their allegations “only demonstrate that the parties are associated in a manner
                   9   directly related to their own primary business activities.” Shaw v. Nissan N. Am.,
                 10    Inc., 220 F. Supp. 3d 1046, 1057 (C.D. Cal. 2016); see also Gomez v. Guthy-Renker,
                 11    LLC, No. EDCV 14-01425 JGB (KKx), 2015 WL 4270042 at *8 (C.D. Cal. July 13,
                 12    2015) (“Courts have overwhelmingly rejected attempts to characterize routine
                 13    commercial relationships as RICO enterprises.”). Plaintiffs claim that the Individual
                 14    Defendants—Maher, Gentile, Perone, Speer, and French—were one part of the
                 15    alleged enterprise. (CCAC ¶¶ 2, 15–19, 157.) But as purported executives allegedly
                 16    exercising control over Defendant EthereumMax (or rather, unknown “Corporate
                 17    Defendants X”), their alleged conduct is consistent with ordinary conduct of
                 18    individuals operating a new company.
                 19          Plaintiffs also claim that the Celebrity Defendants—Kardashian, Mayweather,
                 20    Pierce, Davis, and Brown—were part of the enterprise. (Id. ¶¶ 2, 20–24.) But
                 21    Plaintiffs’ allegations reflect merely that these Defendants are “public figures” who
                 22    are “experience[d] with endorsement contracts”; in other words, their alleged conduct
                 23    is consistent with their own ordinary business activities of using social media as a
                 24    promotional tool. (See, e.g., id. ¶¶ 51, 57 (pointing to two Twitter posts by Pierce),
                 25    id. ¶¶ 67, 69 (alleging Maher “brought the EthereumMax project to Davis specifically
                 26    to leverage Davis’ cryptocurrency-investing followers on social media” and Davis
                 27    made one Twitter post), id. ¶¶ 81, 83–85, 91 (alleging Mayweather promoted the
                 28    EMAX Token in his boxing matches), id. ¶¶ 87, 97 (alleging Kardashian promoted
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                   1   the EMAX Token in two Instagram posts), id. ¶ 86 (alleging Brown posted one
                   2   Instagram story).)
                   3                             (2)   Plaintiffs Do Not Plead an Ongoing Unit.
                   4         An ongoing organization is “a vehicle for the commission of two or more
                   5   predicate crimes,” which may be either formal or informal. Odom, 486 F.3d at 551–
                   6   52. Although Plaintiffs allege, in a conclusory fashion, that the Defendants formed
                   7   an ongoing enterprise, they have not sufficiently pleaded the commission of two or
                   8   more predicate crimes. See infra Section IV.A.2.c. Thus, the CCAC also fails to
                   9   plead this second element of the RICO claim.
                 10                              (3)   Plaintiffs Fail to Allege Continuity.
                 11          To satisfy the “continuing unit” element, Plaintiffs must “provide sufficient
                 12    ‘evidence that the various associates function as a continuing unit.’” Odom, 486 F.3d
                 13    at 552 (quoting United States v. Turkette, 452 U.S. 576, 582 (1981)). The alleged
                 14    behavior must be more than isolated activity. Odom, 486 F.3d at 553. Plaintiffs
                 15    allege, in a conclusory fashion, that the enterprise consists of continuing business
                 16    organizations. (CCAC ¶ 158.)6 But that allegation does not suggest that the alleged
                 17    unlawful enterprise is continuing, which defeats Plaintiffs’ RICO claim. Moreover,
                 18    even if the Court construes this threadbare allegation to refer to a continuing
                 19    enterprise, the CCAC’s factual allegations show, at most, isolated activity by the
                 20    Defendants between May and June 2021. Isolated conduct over an alleged six-week
                 21    period (id. ¶ 118) does not show a continuing enterprise. See infra Section IV.A.2.d.
                 22                         b.   Plaintiffs Fail to Allege that All Defendants Conducted
                 23                              the Affairs of Any Alleged Enterprise.
                 24          A plausible federal RICO claim requires a “showing that the defendants
                 25    conducted or participated in the conduct of the ‘enterprise’s affairs,’ not just their
                 26    6
                         Given Plaintiffs’ concession that they do not know the identity of “undisclosed
                 27    individuals” in the alleged EMAX Token Enterprise (CCAC ¶ 157), and do not know
                       “the corporate entity behind EthereumMax and the EMAX Tokens,” (CCAC ¶ 25),
                 28    Plaintiffs’ conclusion that these unknown persons and entities are presently engaged
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                       in ongoing unlawful conduct is speculative at best.
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                   1   own affairs.” Reves v. Ernst & Young, 507 U.S. 170, 179 (1993) (emphasis in
                   2   original); see also Gonzales v. Lloyds TSB Bank, 532 F. Supp. 2d 1200, 1210 (C.D.
                   3   Cal. 2006). A defendant’s mere provision to the alleged enterprise of assistance that
                   4   is useful or important to the alleged enterprise is insufficient. See Dep’t of Econ.
                   5   Dev. v. Arthur Andersen & Co. (U.S.A.), 924 F. Supp. 449, 466 (S.D.N.Y. 1996)
                   6   (“Many other courts faced with post-Reves § 1962(c) claims against outside
                   7   professionals have agreed that providing important services to a racketeering
                   8   enterprise is not the same as directing the affairs of the enterprise.”).
                   9         Here, Plaintiffs’ RICO claim fails because they have not alleged facts showing
                 10    that all Defendants participated in the alleged enterprise. While claiming that
                 11    Defendants allegedly engaged in a fraudulent pump-and-dump scheme, Plaintiffs’
                 12    RICO allegations improperly lump all Defendants together without explaining how
                 13    each Defendant allegedly conducted the affairs of the alleged enterprise. (See CCAC
                 14    ¶¶ 157–69.) Such allegations fail to satisfy Rule 9(b)’s heightened requirements and
                 15    thus warrant dismissal. See Zakikhan v. Hyundai Motor Co., No. 8:20-cv-01584-SB
                 16    (JDEx), 2021 WL 4805454, at *8 (C.D. Cal. June 28, 2021) (dismissing under Rule
                 17    9(b) fraud allegations that lumped all defendants together); S’holder Representative
                 18    Servs. LLC v. Hantash, No. CV 19-5248 PSG (MAAx), 2019 WL 9516299, at *10
                 19    (C.D. Cal. Dec. 27, 2019) (same).
                 20          Moreover, Plaintiffs’ allegations regarding the Celebrity Defendants—
                 21    stripped of boilerplate conclusions—do not show that the Celebrity Defendants
                 22    directed or participated in the enterprise’s affairs. The CCAC merely alleges that the
                 23    Celebrity Defendants are “celebrity promotors.”         (CCAC ¶ 2.)         The Celebrity
                 24    Defendants’ alleged conduct is akin to the provision of professional services by
                 25    outsiders, which is insufficient to satisfy the participation requirement of RICO. See,
                 26    e.g., Gonzales v. Lloyds TSB Bank, 532 F. Supp. 2d 1200, 1210 (C.D. Cal. 2006);
                 27    Hayden v. Paul, Weiss, Rifkind, Wharton & Garrison, 955 F. Supp. 248, 254
                 28    (S.D.N.Y. 1997). Indeed, Plaintiffs claim that the Celebrity Defendants participated
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                   1   in the alleged enterprise because these Defendants used social media to allegedly
                   2   promote the Tokens. (See, e.g., CCAC ¶¶ 51, 57 (pointing to two Twitter posts by
                   3   Pierce), id. ¶¶ 67, 69 (alleging Maher “brought the EthereumMax project to Davis
                   4   specifically to leverage Davis’ cryptocurrency-investing followers on social media”
                   5   and Davis made one Twitter post), id. ¶¶ 87, 97 (alleging Kardashian promoted the
                   6   Tokens through two Instagram posts), id. ¶ 86 (alleging Brown posted a single
                   7   Instagram story).    Plaintiffs’ allegations regarding Celebrity Defendant Floyd
                   8   Mayweather are also largely consistent with conduct by a celebrity promotor, not an
                   9   individual who directed the affairs of a RICO enterprise. (See id. ¶¶ 81, 83–85, 91
                 10    (alleging hiring of Mayweather to promote EMAX who allegedly promoted EMAX
                 11    token through his boxing fights).) Because Plaintiffs do not plausibly allege that the
                 12    Defendants conducted the enterprise’s affairs, their RICO claim fails.
                 13                        c.    Plaintiffs Fail to Allege Predicate Acts.
                 14          “[P]redicate acts alleging fraud must be pleaded with particularity.” In re
                 15    WellPoint, Inc. Out-of-Network UCR Rates Litig., 865 F. Supp. 2d 1002, 1036 (C.D.
                 16    Cal. 2011). Plaintiffs allege that the Defendants committed wire fraud and mail fraud
                 17    (CCAC ¶ 170), which may serve as predicate acts for a civil RICO claim, if plausible.
                 18    18 U.S.C. § 1961(1). But Plaintiffs fail to allege such acts.
                 19          The elements of mail fraud and wire fraud are “(1) a scheme to defraud, (2)
                 20    the use of the mails or wires to further that scheme, and (3) the specific intent to
                 21    defraud.” In re JUUL Labs, Inc., Mktg., Sales Practices, & Prod. Liab. Litig., 497
                 22    F. Supp. 3d 552, 595 (N.D. Cal. 2020). When a civil RICO plaintiff claims predicate
                 23    acts based on fraud, the plaintiff’s “fraud theory requires them to show more than a
                 24    business deal gone bad for economic and non-fraudulent reasons.”                 Eclectic
                 25    Properties E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014)
                 26    (affirming dismissal of RICO complaint that “purported to allege intentional [wire]
                 27    fraud” in the conduct of sale-leaseback property transactions). Thus, a civil RICO
                 28    complainant must establish “specific intent to defraud” by “showing the existence of
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                   1   a plausible fraudulent scheme.” Id. “In the absence of direct evidence of intent, the
                   2   party asserting fraud must first prove the existence of a scheme which was reasonably
                   3   calculated to deceive persons of ordinary prudence and comprehension, and then, by
                   4   examining the scheme itself the court may infer a defendant's specific intent to
                   5   defraud.” Id.
                   6         Plaintiffs make no allegations demonstrating direct evidence of the alleged
                   7   fraudulent scheme. Thus, they must plausibly plead the existence of a fraudulent
                   8   scheme from which the Court could infer that all Defendants had the specific intent
                   9   to defraud. The CCAC’s allegations fall far short of that heightened standard.
                 10    Indeed, Plaintiffs concede that they cannot plead specific factual allegations
                 11    regarding the predicate acts that form the alleged scheme. (See CCAC ¶ 177 (stating
                 12    that the “corresponding RICO predicate acts of mail and wire fraud . . . cannot be
                 13    alleged”).) Instead, Plaintiffs attempt to “generally describe the occasions on which
                 14    the RICO predicate acts of mail and wire fraud occurred” by pointing to a laundry
                 15    list of categories of alleged predicate acts. (Id. ¶¶ 177–178.) Plaintiffs’ allegations,
                 16    however, are plainly insufficient under Rule 9(b) because they do not allege with
                 17    particularity a single act in which specific Defendants were allegedly involved, when
                 18    the acts were committed, or where they were committed.
                 19          Plaintiffs’ allegations regarding mail and wire fraud otherwise fail because, as
                 20    discussed infra Section IV.D, Plaintiffs have not plausibly pleaded actionable
                 21    statements by any Defendant. See In re JUUL Labs, 497 F. Supp. 3d at 595 (“The
                 22    ‘scheme to defraud’ element” of wire fraud “requires ‘an affirmative, material
                 23    misrepresentation.’” (quoting United States v. Green, 592 F.3d 1057, 1064 (9th Cir.
                 24    2010))). With no plausible misrepresentations, Plaintiffs cannot plead predicate acts.
                 25                        d.    Plaintiffs Fail to Allege a Pattern of Racketeering.
                 26          A “pattern of racketeering activity” requires the commission of at least two
                 27    predicate acts within a ten-year period. 18 U.S.C. § 1961(5). A “pattern” requires
                 28    that predicate acts be “related” and “continu[ous].” H.J. Inc. v. Nw. Bell Tel. Co.,
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                   1   492 U.S. 229, 239 (1989) (citation and internal quotation marks omitted). A plaintiff
                   2   must plead either a series of related predicates extending over a substantial period of
                   3   time (closed-ended continuity), or past conduct that by its nature projects into the
                   4   future with a threat of repetition (open-ended continuity). Howard v. Am. Online,
                   5   Inc., 208 F.3d 741, 750 (9th Cir. 2000). Plaintiffs have not pleaded either.
                   6         First, Plaintiffs do not plead close-ended continuity because any alleged
                   7   predicate acts are not sufficiently continuous. Alleged predicate acts that extend only
                   8   a few months are too short lived to satisfy close-ended continuity. See H.J., 492 U.S.
                   9   at 242 (explaining that “[p]redicate acts extending over a few weeks or months and
                 10    threatening no future criminal conduct do not satisfy this requirement.”); Howard,
                 11    208 F.3d at 750 (same). Plaintiffs allege the conduct began on May 11, 2021 and
                 12    continued until June 27, 2021. (CCAC ¶¶ 40, 173.) Thus, any alleged predicate acts
                 13    occurred within a period too short to show close-ended continuity.
                 14          Second, Plaintiffs do not plead open-ended continuity.                “Open-ended
                 15    continuity is shown by ‘past conduct that by its nature projects into the future with a
                 16    threat of repetition,’ i.e., predicate acts that specifically threaten repetition or that
                 17    become a ‘regular way of doing business.’” Allwaste, Inc. v. Hecht, 65 F.3d, 1523,
                 18    1528 (9th Cir. 1995). Acts which relate to a single objective do not constitute a
                 19    pattern. See Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 366–67 (9th Cir.
                 20    1992). Plaintiffs’ theory is that the Defendants engaged in a one-time pump-and-
                 21    dump scheme to artificially inflate the EMAX Token price and then sold their tokens.
                 22    (CCAC ¶¶ 110, 172.) This alleged scheme therefore does not plausibly threaten
                 23    repetition or risk of becoming a regular way of doing business. Thus, the Court
                 24    should dismiss the civil RICO claim.
                 25          B.     Plaintiffs Lack Standing to Assert Claims Under Other States’
                 26                 Laws.
                 27          The CCAC asserts numerous claims against Defendants under California law,
                 28    and avers that California law applies “to every member of the [putative] class
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                   1   regardless of where they reside.” (CCAC ¶ 126.) District courts in the Ninth Circuit,
                   2   however, agree that “plaintiffs ‘do not have standing to assert claims from states in
                   3   which they do not reside’ and that it is ‘appropriate . . . to address standing in advance
                   4   of class certification.’” Drake v. Toyota Motor Corp., No. 2:20-cv-01421-SB-PLA,
                   5   2020 WL 7040125, at *3 (C.D. Cal. Nov. 23, 2020) (quoting In re Carrier IQ, Inc.,
                   6   78 F. Supp. 3d 1051, 1075 (N.D. Cal. 2015)). With the exception of Plaintiffs
                   7   Semerjian and Shah, all Named Plaintiffs reside in states other than California. (See
                   8   CCAC ¶¶ 6–14.) The non-California Plaintiffs do not allege that they suffered any
                   9   injury in California. Thus, they lack standing to sue under California law. See
                 10    Goldstein v. Gen. Motors LLC, 445 F. Supp. 3d 1000, 1021 (S.D. Cal. 2020).
                 11          While Plaintiffs allege that the Individual Defendants’ conduct “emanated
                 12    from California” (CCAC ¶ 129), this conclusory allegation is insufficient. See
                 13    Zakikhan, 2021 WL 4805454, at *6 (rejecting plaintiffs’ contention that the non-
                 14    California Plaintiffs can show standing for California claims because their claims
                 15    “emanate from California” as “too conclusory”). None of the Individual Defendants
                 16    resides in California (id. ¶¶ 15–19), and Plaintiffs otherwise make no factual
                 17    allegations for their conclusory assertion. Thus, the Court should dismiss any claims
                 18    that the non-California Plaintiffs purport to raise under California law. To the extent
                 19    Plaintiffs Semerjian and Shah purport to assert claims under the non-California state
                 20    laws raised in the CCAC, such claims should be dismissed for similar reasons.
                 21          C.     Plaintiffs Fail to Allege Threshold Requirements for the State
                 22                 Consumer Statutory Claims.
                 23                 1.     Plaintiffs Lack Standing to Sue Under the UCL, CLRA, or
                 24                        FAL Because They Do Not Plead Actual Reliance on Alleged
                 25                        Misrepresentations or Omissions.

                 26          Plaintiffs asserting UCL, CLRA, and FAL claims sounding in fraud must
                 27    allege facts showing reliance on the alleged misrepresentations or omissions. See
                 28    Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310 326–27 (2011); Sateriale v. R.J.
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                   1   Reynolds Tobacco Co., 697 F.3d 777, 793–94 (9th Cir. 2012) (dismissing UCL and
                   2   CLRA claims when plaintiffs failed to allege they “relied on [challenged]
                   3   representations or, if they did rely, that their reliance caused them harm”). For
                   4   omission claims, plaintiffs must allege that “had the omitted information been
                   5   disclosed, [they] would have been aware of it and behaved differently.” In re Apple
                   6   Processor Litig., No. 18-cv-00147-EJD, 2022 WL 2064975, at *10 (N.D. Cal. June
                   7   8, 2022) (emphasis in original) (quoting Mirkin v. Wasserman, 5 Cal. 4th 1082, 1093
                   8   (1999)) (internal quotation marks omitted). Plaintiffs’ UCL, CLRA, and FAL claims
                   9   fail because they do not plead actual reliance on any Defendants’ alleged
                 10    misrepresentations or omissions.
                 11          While the CCAC is riddled with allegations of purported misrepresentations
                 12    by Individual Defendants, Plaintiffs do not allege even one instance in which they
                 13    viewed the alleged statements by these Defendants. Thus, Plaintiffs have failed to
                 14    plead actual reliance on any of these Defendants’ alleged statements. See Barrett v.
                 15    Apple Inc., 523 F. Supp. 3d 1132, 1150 (N.D. Cal. 2021) (explaining plaintiffs failed
                 16    to plead reliance where they did “not allege that they visited [Defendant’s] website,
                 17    read the disclaimer, or knew about [Defendant’s] communications with news
                 18    media—either before or after they purchased” the products); Goldsmith v. Allergan,
                 19    Inc., No. CV 09-7088 PSG EX, 2011 WL 2909313, at *4 (C.D. Cal. May 25, 2011)
                 20    (finding reliance allegations insufficient where plaintiff failed to show “that he saw
                 21    any specific ads and relied on them” before purchasing and investing).
                 22          Similarly, while Plaintiffs allege in boilerplate fashion that they “view[ed]
                 23    numerous celebrity endorsements of EMAX” (CCAC ¶¶ 6–14), these allegations are
                 24    also insufficient to plead actual reliance. Notably, Plaintiffs do not allege that they
                 25    viewed purported endorsements by the specific Celebrity Defendants named in the
                 26    CCAC. That is problematic because the CCAC refers to numerous other celebrities
                 27    who are alleged to have promoted EMAX but are not named as defendants. (See id.
                 28    ¶ 82.) To the extent Plaintiffs contend that their generic allegation about “viewing
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                   1   numerous celebrity endorsements” somehow refers to the Celebrity Defendants,
                   2   Plaintiffs’ allegations improperly lump all Celebrity Defendants together. Plaintiffs
                   3   fail to allege which “celebrity endorsements” they viewed, or even whether any of
                   4   the “celebrity endorsements” they allegedly viewed contained misrepresentations or
                   5   omissions. The dearth of factual allegations regarding each Named Plaintiff’s
                   6   experience is fatal to their claims. See Kearns v. Ford Motor Co., 567 F.3d 1120,
                   7   1126, 1128 (9th Cir. 2009) (affirming dismissal of CLRA and UCL claims where
                   8   Plaintiff failed to plead “the particular circumstances surrounding” the alleged
                   9   misrepresentations, “when he was exposed to them or which ones he found material,”
                 10    and “which [ ] material he relied upon in making his” purchasing decision); Mehta v.
                 11    Robinhood Fin. LLC, No. 21-cv-01013-SVK, 2021 WL 6882392, at *4 (N.D. Cal.
                 12    Sept. 8, 2021) (explaining UCL, CLRA, and FAL claims failed where “Plaintiffs do
                 13    not allege which documents or statements Plaintiffs may have seen”).
                 14          The CCAC similarly fails to plead reliance on alleged omissions by any
                 15    Defendant. Plaintiffs do not allege that they have ever visited the Defendants’ social
                 16    media profiles or platforms where they could have even conceivably viewed the
                 17    allegedly “omitted information” if it were disclosed. See Mirkin, 5 Cal. 4th at 1093;
                 18    see also In re Apple Processor Litig., 2022 WL 2064975, at *10 (finding plaintiffs
                 19    failed to plead reliance on omissions where they “d[id] not allege that they regularly
                 20    view Apple’s YouTube videos or follow Apple’s press releases, much less relied on
                 21    any such representations when purchasing their next smartphone or tablet”). Nor do
                 22    Plaintiffs allege that if they knew the Individual Defendants’ “specific roles and
                 23    ownership interests” or purported “use of the Celebrity Defendants to ‘instill trust’ .
                 24    . . to promote the financial benefits” of EMAX, (CCAC ¶ 140), that they would have
                 25    acted any differently. See Mirkin, 5 Cal. 4th at 1093.
                 26          Although a court may infer actual reliance from a misrepresentation of a
                 27    material fact, a plaintiff must establish that a reasonable person would “attach
                 28    importance to [that fact’s] existence or nonexistence in determining [their] choice of
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                   1   action in the transaction in question.” See Chapman v. Skype Inc., 220 Cal. App. 4th
                   2   217, 229 (2013) (citing In re Tobacco II Cases, 46 Cal. 4th 298, 327 (2009)) (finding
                   3   adequate allegations of actual reliance where plaintiff alleged material
                   4   misrepresentation). But the CCAC fails to allege how the alleged misrepresentations
                   5   and omissions concerning the roles and ownership interests of the Individual
                   6   Defendants would have been material to a reasonable consumer.
                   7         Critically, there can be no inference of actual reliance when plaintiffs fail to
                   8   allege any personal exposure to the statements or omissions. See Hall v. Sea World
                   9   Ent., Inc., No. 3:15-CV-660-CAB-RBB, 2015 WL 9659911, at *4 (S.D. Cal. Dec.
                 10    23, 2015) (explaining “Tobacco II’s much narrower holding is that a plaintiff who
                 11    viewed numerous statements and advertisements during a decades-long advertising
                 12    campaign is not required ‘to plead with an unrealistic degree of specificity that the
                 13    plaintiff relied on particular advertisements or statements’”). As discussed above,
                 14    Plaintiffs do not allege viewing any statements by the Individual Defendants (or even
                 15    being aware of the Individual Defendants), nor viewing the Celebrity Defendants’
                 16    alleged online activity related to EMAX. Thus, Plaintiffs are not entitled to an
                 17    inference of actual reliance. The Court should therefore dismiss the UCL, CLRA,
                 18    and FAL claims. See Barrett, 523 F. Supp. 3d at 1153 (dismissing CLRA, UCL, and
                 19    FAL claims for misrepresentations and omissions when plaintiffs failed to plead
                 20    reliance and causation).
                 21                 2.    Plaintiffs Fail to State FDUTPA, N.Y. GBL, or N.J. CFA
                 22                       Claims Because They Fail to Allege Causation.
                 23          To state a claim under the FDUTPA, N.Y. GBL, and N.J. CFA, plaintiffs must
                 24    plead a causal relationship between their alleged injury and a defendant’s actions.
                 25    See Just. v. Rheem Mfg. Co., 318 F.R.D. 687, 696 (S.D. Fla. 2016) (“In order to state
                 26    a claim under the [FDUTPA], a Plaintiff must establish: (1) a deceptive act or unfair
                 27    practice; (2) causation; and (3) actual damages.”); Int’l Union of Operating
                 28    Engineers Loc. No. 68 Welfare Fund v. Merck & Co., 192 N.J. 372, 389 (2007) (under
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                   1   the N.J. CFA, a “plaintiff must allege a causal relationship between the defendant’s
                   2   unlawful conduct and the plaintiff’s ascertainable loss” (cleaned up)); Gale v. Int’l
                   3   Bus. Machines Corp., 9 A.D.3d 446, 447 (2004) (“[N.Y. GBL] plaintiff must show
                   4   that the defendant’s material deceptive act caused the injury.”).
                   5         Moreover, where a plaintiff alleges that the defendant made purportedly
                   6   deceptive misrepresentations, Rule 9(b)’s heightened pleading standard requires the
                   7   plaintiff to plead facts showing “which, if any, of these statements Plaintiffs saw or
                   8   heard.” See In re Riddell Concussion Reduction Litig., 77 F. Supp. 3d 422, 433
                   9   (D.N.J. 2015) (citations omitted); In re NJOY, Inc. Consumer Class Action Litig., No.
                 10    CV 14-00428 MMM (RZx), 2014 WL 12586074, at *14–15 (C.D. Cal. Oct. 20, 2014)
                 11    (finding Rule 9(b)’s heightened standards applied to Florida and New York claims
                 12    and required plaintiffs state which misleading statements they had seen); In re ZF-
                 13    TRW Airbag Control Units Prod. Liab. Litig., No. LA ML19-02905 JAK (FFMX),
                 14    2022 WL 522484, at *90–91 (C.D. Cal. Feb. 9, 2022) (dismissing N.J. CFA and N.Y.
                 15    GBL claims for failure to plead causation with specificity required by Rule 9(b)
                 16    where no plaintiff alleged they were exposed to any defendant’s misrepresentations
                 17    or omissions); cf. Gale, 9 A.D.3d at 473 (dismissing N.Y. GBL claim for failure “to
                 18    plead causation with sufficient specificity” because plaintiff did not allege “that he
                 19    saw any of the[] [allegedly misleading] statements before he purchased or came into
                 20    possession of his hard drive”).
                 21          As discussed above, Plaintiffs allege merely that they “view[ed] numerous
                 22    celebrity endorsements of EMAX” and provide no particular allegations regarding
                 23    the alleged circumstances. (CCAC ¶ 6.) Thus, Plaintiffs’ allegations fail under Rule
                 24    9(b). See In re NJOY, Inc., 2014 WL 12586074, at *9–15 (dismissing FDUTPA,
                 25    N.Y. GBL, UCL, and CLRA claims for alleged misrepresentations and omissions
                 26    when plaintiffs did not plead when they viewed the alleged misrepresentations or
                 27    materials that should have contained omitted information); see also In re Riddell, 77
                 28    F. Supp. 3d at 435 (dismissing UCL, FAL, CLRA, FDUTPA, and N.J. CFA claims
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                   1   because “there is no allegation connecting any of the named Plaintiffs to” the images,
                   2   which contained alleged misrepresentations, listed in the complaint).
                   3         D.     Plaintiffs Fail to State any State Statutory Claim Because None of
                   4                the Alleged Misrepresentations and Omissions are Actionable.
                   5                1.    Plaintiffs Do Not Allege Misrepresentations Likely to Mislead
                   6                      Reasonable Consumers.
                   7         To state a UCL, FAL, or CLRA claim, alleged misrepresentations must be
                   8   likely to mislead reasonable consumers. Moore v. Trader Joe’s Co., 4 F.4th 874,
                   9   881, 886 (9th Cir. 2021) (affirming dismissal because statements would not likely
                 10    mislead reasonable consumers); Vitt v. Apple Computer, Inc., No. CV 06-7152-GW
                 11    (FMOX), 2010 WL 11545683, at *2 (C.D. Cal. May 21, 2010), aff’d, 469 F. App’x
                 12    605 (9th Cir. 2012) (same). The possibility of deception is insufficient. See Zlotnick
                 13    v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007) (plaintiffs must
                 14    show “probable, not possible, deception”); see also Lavie v. Procter & Gamble Co.,
                 15    105 Cal. App. 4th 496, 508–09 (2003) (explaining that plaintiffs must show that “it
                 16    is probable that a significant portion of the general consuming public . . . acting
                 17    reasonably in the circumstances, could be misled”). The FDUTPA, N.Y. GBL, and
                 18    N.J. CFA impose similar requirements. See Zlotnick, 480 F.3d at 1284; Marcus v.
                 19    AT&T Corp., 138 F.3d 46, 65–66 (2d Cir. 1998); New Jersey Citizen Action v.
                 20    Schering-Plough Corp., 842 A.2d 174, 177 (2003). When a plaintiff fails to plead
                 21    this requirement, “any cause of action having deception as an element may be
                 22    addressed, as a matter of law, on a motion to dismiss.” McKinniss v. Sunny Delight
                 23    Beverages Co., No. CV 07-02034-RGK (JCx), 2007 WL 4766525, at *3 (C.D. Cal.
                 24    Sept. 4, 2007) (dismissing UCL, FAL, and CLRA claims).
                 25          The reasonable consumer is the average person of “ordinary” intelligence, not
                 26    an “unwary consumer” or an especially vulnerable or uninformed individual. See
                 27    Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995) (citations omitted). The
                 28    circumstances in which consumers encounter the alleged statements, as well as
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                   1   common sense and common knowledge, are relevant to the inquiry. See Moore, 4
                   2   F.4th at 883, 886 (affirming dismissal of claims under California and New York law
                   3   when a reasonable consumer would not be misled given “three key contextual
                   4   inferences from the product [sold] itself . . . all of which [were] readily available”);
                   5   Geffner v. Coca-Cola Co., 928 F.3d 198, 200 (2d Cir. 2019) (explaining “context is
                   6   crucial” under N.Y. GBL and concluding word was not misleading in context of soft
                   7   drink marketing); Casey v. Florida Coastal Sch. of L., Inc., No. 3:14-CV-1229-J-
                   8   39PDB, 2015 WL 10096084, at *15–16 (M.D. Fla. Aug. 11, 2015) (dismissing
                   9   FDUTPA claim given consumers’ “common knowledge”).
                 10          Here, Plaintiffs claim that Defendants allegedly misrepresented the EMAX
                 11    Token on social media. (See, e.g., CCAC ¶¶ 62, 63, 81.) But Plaintiffs’ allegations
                 12    amount to nonactionable puffery and otherwise concern statements not likely to
                 13    deceive reasonable consumers given common sense and context.
                 14          Generalizations, exaggerations, opinions, and future predictions that should
                 15    not and would not be taken seriously by a reasonable consumer are puffery and
                 16    therefore not actionable under state consumer protection statutes. See, e.g., Glen
                 17    Holly Ent., Inc. v. Tektronix, Inc., 343 F.3d 1000, 1015 (9th Cir. 2003) (non-
                 18    actionable puffery includes “statements [that] were generalized, vague and
                 19    unspecific”); Fink v. Time Warner Cable, 810 F. Supp. 2d 633, 644 (S.D.N.Y. 2011)
                 20    (similar); MacNaughten v. Young Living Essential Oils, LC, No. 5:21-cv-00071
                 21    (BKS/ML), 2021 WL 5965195, at *6 (N.D.N.Y. Dec. 16, 2021) (“To determine
                 22    whether a statement is puffery, courts can look at a variety of factors, including (i)
                 23    vagueness; (ii) subjectivity; and (iii) inability to influence the buyers’ expectations.”
                 24    (cleaned up)); Silver v. Countrywide Home Loans, Inc., 760 F. Supp. 2d 1330, 1342–
                 25    43 (S.D. Fla. 2011) (explaining opinions and “projections about future events” are
                 26    “puffing,” and “not to be taken seriously,” “not to be relied upon,” and “not binding
                 27    as a legal obligation or promise”); Hunt Const. Grp., Inc. v. Hun Sch. of Princeton,
                 28    No. 08-3550 (FLW), 2009 WL 1312591, at *3 (D.N.J. May 11, 2009) (citation
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                   1   omitted) (similar). Statements are non-actionable puffery even where they appear to
                   2   offer consumers a particular positive outcome. See New Jersey Citizen Action, 842
                   3   A.2d at 177 (affirming dismissal of N.J. CFA claim because representations
                   4   purportedly “guarantee[ing] total and universal [product] effectiveness” were
                   5   “mere[] expressions in the nature of puffery”).
                   6         The majority of Defendants’ alleged statements are non-actionable because
                   7   they reflect mere opinions or vague, lofty predictions. For instance, Defendant
                   8   Speer’s statements that the EMAX Tokens’ price had “tons of room to go,” as well
                   9   as Perone’s hyperbole about “meeting retail investors ‘on the moon’” and comments
                 10    “that the [Individual] Defendants were ‘looking to lock the wallets,’” offer no
                 11    concrete facts or promises about the EMAX Token on which a reasonable consumer
                 12    could reasonably rely. (CCAC ¶¶ 71, 79, 96.) The various YouTube, Twitter, and
                 13    Instagram posts Plaintiffs allege are otherwise replete with vagaries, exaggerations,
                 14    hyperbole, and optimistic future predictions rather than actionable misstatements of
                 15    fact or specific false promises. (See, e.g., id. ¶¶ 57, 62, 71, 86, 95.) Many also contain
                 16    humor or playful language and emojis (see id. ¶¶ 57, 62), further underscoring that
                 17    they are non-actionable. See Apodaca v. Whirlpool Corp., No. SACV 13-00725 JVS
                 18    (ANx), 2013 WL 6477821, at *6 (C.D. Cal. Nov. 8, 2013) (concluding that some
                 19    advertising statements were non-actionable puffery considering their humor).
                 20          Common sense regarding cryptocurrencies also demonstrates why Plaintiffs
                 21    cannot plausibly claim that Defendants’ purported misrepresentations misled
                 22    “unsuspecting” consumers to think that they would “make significant returns” by
                 23    investing in EMAX Tokens. (See CCAC ¶¶ 2–3.) Plaintiffs themselves acknowledge
                 24    that cryptocurrencies are “volatile,” “speculative,” and “risky.” (See id. ¶¶ 98–99.)
                 25    A Slate article incorporated by reference into the CCAC describes how
                 26    cryptocurrency is a “wildly anarchic, unregulated form of Wild West financial
                 27    capitalism.” (See id. ¶ 98, n. 29.) The CCAC further alleges that various Defendants
                 28    discussed openly the volatility and risk of cryptocurrencies. For instance, Plaintiffs
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                   1   allege that one Individual Defendant urged potential investors to “[t]hink long and
                   2   hard” whether they could “risk this money and still pay [their] bills,” instructing
                   3   YouTube viewers to “not proceed” with buying tokens “if the answer is no.” (Id.
                   4   ¶ 73.) Defendant Speer also provided these same admonitions about EMAX Tokens
                   5   in the captions to his subsequent YouTube videos referenced in the CCAC. (See id.
                   6   ¶¶ 78–79 (referring to and incorporating by reference Speer’s alleged YouTube
                   7   videos).)
                   8          The Celebrity Defendants’ social media statements also could not plausibly
                   9   deceive reasonable consumers given the context. The Celebrity Defendants are
                 10    socialites, media personalities, and famous athletes—not financial experts or
                 11    investment advisers. Plaintiffs do not allege that any of the Celebrity Defendants
                 12    purported to have specialized knowledge or expertise in cryptocurrency, or to have
                 13    represented as such. Their messages frequently contained slang, profanity, emojis,
                 14    and other imagery indicating they were not to be taken seriously. (See, e.g., CCAC
                 15    ¶ 62, 86.) While Plaintiffs point to Kardashian’s June 14, 2021 Instagram story, they
                 16    also concede that that post had the hashtag “#AD.” (Id. ¶¶ 97, 101). Moreover,
                 17    platforms like Instagram and Twitter are laden with puffery and exaggeration, such
                 18    that ordinary consumers should know that they are not trustworthy sources of
                 19    financial advice. See Piescik v. CVS Pharmacy, Inc., No. 21-81298-CV, 2021 WL
                 20    5996977, at *4–5 (S.D. Fla. Dec. 15, 2021) (dismissing FDUTPA claim regarding
                 21    hand sanitizer label after considering consumers’ close familiarity with the product
                 22    and its functionality after a two-year global pandemic). The notion that a reasonable
                 23    consumer would invest their money solely based on a celebrity’s social media post
                 24    strains plausibility.
                 25           Considering common sense and context, this Court cannot credit allegations
                 26    that Defendants’ statements were likely to mislead reasonable consumers. See
                 27    Moore, 4 F.4th at 883. Plaintiffs fail to establish that the Celebrity Defendants’
                 28    statements show “a likelihood of confounding an appreciable number of reasonably
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                   1   prudent purchasers exercising ordinary care.” See Clemens v. DaimlerChrysler
                   2   Corp., 534 F.3d 1017, 1026 (9th Cir. 2008) (citation omitted). Thus, the Court should
                   3   dismiss these claims.
                   4                 2.     Plaintiffs Do Not Allege Any Material or Otherwise
                   5                        Actionable Omissions by Defendants.
                   6           Plaintiffs’ claims are also insufficient to the extent they are premised on
                   7   alleged omissions. Plaintiffs identify purported omissions falling into three broad
                   8   categories: (1) failure to disclose the “[Individual] Defendants’ specific roles and
                   9   ownership interests in EthereumMax”; (2) “fail[ure] to disclose the use of the
                 10    Celebrity Defendants to ‘instill trust’ in uninformed investors to promote the
                 11    financial benefits of a highly speculative and risky investment”; and (3) failure to
                 12    disclose that the EMAX Tokens were a risky investment. (See, e.g., CCAC ¶¶ 2–3,
                 13    140.)    However, Plaintiffs do not “plead the circumstances of omission with
                 14    specificity,” and thus dismissal is warranted. See Eisen v. Porsche Cars N. Am., Inc.,
                 15    No. CV 11-9405 CAS (FEMx), 2012 WL 841019, at *3 (C.D. Cal. Feb. 22, 2012)
                 16    (citation omitted) (dismissing California state law claims for alleged fraudulent
                 17    omissions).
                 18            Plaintiffs otherwise fail to adequately plead how the purportedly omitted
                 19    information violates any of the state consumer statutes on which they rely.
                 20            As an initial matter, Plaintiffs fall short of California’s heightened requirement
                 21    for materiality.      Plaintiffs make the conclusory allegation that absent the
                 22    “[Individual] Defendants’ activities with the [Celebrity] Defendants,” they would not
                 23    have purchased or held onto EMAX Tokens. (CCAC ¶ 135.) But Plaintiffs do not
                 24    allege why reasonable consumers would care about the “specific roles and ownership
                 25    interests” that Individual Defendants had. (Id. ¶ 211(a).) As for alleged omissions
                 26    regarding alleged collaboration with the Celebrity Defendants, the EMAX celebrity
                 27    influencer marketing strategy was no secret according to Plaintiffs’ own allegations.
                 28    (See, e.g., id. ¶ 79 (describing Mr. Perone’s May 23, 2021 statements about the “use
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                   1   of ‘high level’ brand ambassadors and promoters [to] ‘legitimiz[e]’ the project”), ¶ 94
                   2   (describing Mr. Gentile’s public statements on June 8, 2021 about “launching
                   3   ambassadorships and working with influencers” as a “‘launch point’”).) Likewise,
                   4   the risks inherent in investing in cryptocurrencies like the EMAX Token were and
                   5   are common knowledge, including according to Plaintiffs’ own allegations. (CCAC
                   6   ¶¶ 98–99.) Thus, the Court should not credit Plaintiffs’ legal conclusions about
                   7   alleged omissions. See Clegg v. Cult Awareness Network, 18 F.3d 752, 754–55 (9th
                   8   Cir. 1994) (explaining that courts need not credit legal conclusions cast as factual
                   9   allegations).
                 10          Nor do Plaintiffs allege that they would have acted differently had they seen
                 11    the allegedly omitted information. See Barrett v. Apple Inc., 523 F. Supp. 3d 1132,
                 12    1149–50 (N.D. Cal. 2021) (explaining that under California law, a plaintiff must
                 13    plead “that if the omitted information had been available, the plaintiff would have
                 14    been aware of it and behaved differently”). Plaintiffs do not allege that they viewed
                 15    any particular Defendants’ alleged posts and thus cannot plausibly allege they would
                 16    have behaved differently without the alleged omissions. See id. at 1151 (rejecting
                 17    fraudulent omission claim when plaintiffs failed to allege that “they read the webpage
                 18    or . . . were aware of any specific news reports regarding iTunes gift card scams”
                 19    because omitted information, if available, still would not have altered their behavior).
                 20          Moreover, to state an omission claim under the UCL, CLRA, or FAL, a
                 21    plaintiff must plausibly plead either that the omitted information is “contrary to a
                 22    representation actually made by the defendant,” or that the defendant had an
                 23    affirmative duty to disclose the information. Daugherty v. Am. Honda Motor Co.,
                 24    144 Cal. App. 4th 824, 835 (2006). A duty to disclose may arise when: (1) a fiduciary
                 25    relationship exists between plaintiff and defendant; (2) defendant holds “exclusive
                 26    knowledge of material facts not known to the plaintiff”; (3) defendant “actively
                 27    conceals a material fact from plaintiff”; or (4) “defendant makes partial
                 28    representations but also suppresses some material facts.” Falk v. Gen. Motors Corp.,
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                   1   496 F. Supp. 2d 1088, 1094–95 (N.D. Cal. 2007) (citing LiMandri v. Judkins, 52 Cal.
                   2   App. 4th 326, 337 (1997)). The majority of California state and federal courts reject
                   3   a “broad obligation to disclose.” Wilson v. Hewlett-Packard Co., 668 F.3d 1136,
                   4   1141 (9th Cir. 2012). Here, Plaintiffs plead no fiduciary relationship between them
                   5   and any Defendant, nor have they plausibly alleged how the allegedly omitted
                   6   information was material. Thus, their California claims for alleged omissions fail.
                   7         Plaintiffs’ New York claims fail for similar reasons. To plead a deceptive act
                   8   based on an omission, a plaintiff “must show why the omission was deceptive by
                   9   alleging that the information was solely within the defendant’s possession or that a
                 10    consumer could not reasonably obtain such information.” Dimond v. Darden Rests.,
                 11    Inc., No. 13-CV-5244 (KPF), 2014 U.S. Dist. LEXIS 94004, at *44–45 (S.D.N.Y.
                 12    July 9, 2014) (internal quotation marks removed). A plaintiff must provide more
                 13    than vague allegations that a defendant knew of the allegedly omitted information.
                 14    See Woods v. Maytag Co., No. 10-CV-0559 (ADS) (WDW), 2010 WL 4314313, at
                 15    *16 (E.D.N.Y. Nov. 2, 2010) (dismissing N.Y. GBL claim where plaintiff had “not
                 16    provided enough factual information to plausibly suggest that the Maytag Defendants
                 17    had knowledge of the defect”). Plaintiffs’ allegations do not show that information
                 18    about Defendants’ roles or ownership interests in EthereumMax, the use of influencer
                 19    marketing, or the risks of cryptocurrency was exclusively known to Defendants (or
                 20    even known by most Defendants). The CCAC’s allegations also fail to show that a
                 21    reasonable consumer had no means of learning about this allegedly omitted
                 22    information. Thus, Plaintiffs fail to show material omissions, as required to state a
                 23    N.Y. GBL claim. See S.Q.K.F.C., Inc. v. Bell Atl. TriCon Leasing Corp., 84 F.3d
                 24    629, 636–37 (2d Cir. 1996) (affirming dismissal of N.Y. GBL claim where “a
                 25    reasonable consumer would not have been misled by [defendant’s] conduct”).
                 26          Likewise, because Florida law typically only permits liability for omissions
                 27    where a defendant fails to disclose a material defect that diminishes a product’s value,
                 28    the Court should dismiss Plaintiffs’ FDUTPA claims associated with alleged
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                   1   omissions. See Matthews v. Am. Honda Motor Co., Inc., No. 12-60630-CIV, 2012
                   2   WL 2520675, at *3 (S.D. Fla. June 6, 2012) (“Florida courts have recognized that a
                   3   FDUTPA claim is stated where the defendant knowingly fails to disclose a material
                   4   defect that diminishes a product’s value.” (emphasis added)); see also Morris v.
                   5   ADT Sec. Servs., 580 F. Supp. 2d 1305, 1309–10 (S.D. Fla. 2008) (finding plaintiffs
                   6   adequately pleaded FDUTPA claim where they “allege[d] that ADT sold a security
                   7   system from 2002 through 2006, that it knew would stop working properly in 2008,
                   8   without disclosing this fact to customers, and then decided to charge customers to
                   9   upgrade the system so that it would work as originally promised”). Here, Plaintiffs
                 10    fail to establish any material defect with the EMAX Tokens, and any reasonable
                 11    consumer would understand that the Tokens’ value could vary widely over time for
                 12    a multitude of reasons. Plaintiffs thus fail to plead that a reasonable consumer would
                 13    be misled by such an “omission,” as required under the FDUTPA. See Broward
                 14    Motorsports of Palm Beach, LLC v. Polaris Sales, Inc., No. 17-cv-81100, 2018 WL
                 15    1072211, at *7–8 (S.D. Fla. Feb. 27, 2018) (dismissing FDUTPA claim where “a
                 16    consumer acting reasonably under the circumstances would not have been misled by
                 17    the omission”).
                 18          Finally, Plaintiffs have failed to plead knowledge of and intent to conceal
                 19    material information, as required to maintain N.J. CFA omission claims. See Cox v.
                 20    Sears Roebuck & Co., 138 N.J. 2, 16 (1994); Dugan v. TGI Fridays, Inc., 231 N.J.
                 21    24, 51 (2017) (citations omitted) (explaining CFA claim can arise from “a knowing
                 22    omission,” but “a showing [of intent] is necessary”); Judge v. Blackfin Yacht Corp.,
                 23    357 N.J. Super. 418, 426 (2003) (same). Plaintiffs allege, in a conclusory fashion, a
                 24    plot to deceive consumers rather than pleading exclusive knowledge on the part of
                 25    Defendants, consumers’ inability to procure information, or each Defendant’s intent
                 26    and knowledge of deception. Merely alleging that Defendants acted “knowingly and
                 27    intentionally” (see CCAC ¶ 229), without factual support, is insufficient. See Clegg,
                 28    18 F.3d at 754–55. And again, the CCAC fails to establish how any allegedly omitted
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                   1   information—pertaining to the Individual Defendants’ roles in EMAX or the use of
                   2   influencers—was “material” to consumers. See, e.g., Blackfin, 357 N.J. Super. at 425
                   3   (explaining plaintiff must allege knowing concealment of “material fact” under
                   4   CFA). Thus, Plaintiffs’ state consumer statute claims for alleged omissions should
                   5   be dismissed.
                   6         E.     Plaintiffs Fail to State Any UCL Claim.
                   7         To the extent Plaintiffs rely on the other causes of action addressed in this
                   8   Motion to support their claim under the unlawful prong of the UCL, their claim under
                   9   that prong necessarily fails. See Aleksick v. 7-Eleven, Inc., 205 Cal. App. 4th 1176,
                 10    1185 (2012) (“When a statutory claim fails, a derivative UCL claim also fails.”);
                 11    Becerra v. McClatchy Co., 69 Cal. App. 5th 913, 941 (2021) (same).
                 12          To the extent Plaintiffs purport to assert a claim under the unfairness prong,
                 13    such a claim also fails because Plaintiffs rely on a conclusory recitation of legal
                 14    standards without pleading facts showing how these standards are satisfied. (See
                 15    CCAC ¶ 134 (reciting three unfair prong balancing tests and claiming, “Defendants’
                 16    conduct is unfair under each”).) For instance, under the “tethering” test, a plaintiff
                 17    must identify the “specific constitutional, statutory, or regulatory provisions” to
                 18    which their UCL claim is tethered. See, e.g., Dana v. Hershey Co., 180 F. Supp. 3d
                 19    652, 666–67 (N.D. Cal. 2016), aff’d, 730 F. App’x 460 (9th Cir. 2018) (concluding
                 20    plaintiff failed under the tethering test because she did not identify specific legislative
                 21    policies or laws directly implicated by defendants’ failure to make certain disclosures
                 22    on its products’ packaging).
                 23          In any event, to state a claim under the unfair prong in the consumer context,
                 24    this Court has determined that the test articulated in Section 5 of the FTC Act
                 25    governs, requiring plaintiffs to show (1) consumer injury was substantial; (2) the
                 26    injury is not outweighed by countervailing benefits to consumers or competition; and
                 27    (3) the injury could not have reasonably been avoided by consumers. See Zuniga v.
                 28    Bank of Am. N.A., No. CV 14-06471 MWF (MRWx), 2014 WL 7156403, at *6–7
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                   1   (C.D. Cal. Dec. 9, 2014) (Fitzgerald, J.) (citing Camacho v. Auto. Club of S.
                   2   California, 142 Cal. App. 4th 1394, 1403 (2006)). Plaintiffs do not state a claim
                   3   under this test because they do not allege that Plaintiffs could not have reasonably
                   4   avoided the injury. See Lee v. CarMax Auto Superstores California, LLC, No. CV-
                   5   13-7648-MWF (VBKx), 2013 WL 12473808, at *5 (C.D. Cal. Dec. 2, 2013)
                   6   (Fitzgerald, J.) (finding “unfair” prong inapplicable where Plaintiff did not “allege
                   7   that the injury was substantial or that Plaintiff could not have reasonably avoided the
                   8   injury”). Plaintiffs could have avoided alleged injury by not investing in a risky
                   9   cryptocurrency.
                 10          Moreover, UCL unfair prong claims fail when the alleged business practices
                 11    at issue are the same as those undergirding claims that fail under the other prongs.
                 12    See Knuttel v. Omaze, Inc., No. 2:21-cv-09034-SB-PVC, 2022 WL 1843138, at *13
                 13    (C.D. Cal. Feb. 22, 2022) (“[W]here the practice alleged to be unfair overlaps entirely
                 14    with the practices addressed under the fraudulent and unlawful prongs of the UCL,
                 15    the former may be dismissed when the latter prong do[es] not survive.”); Hadley v.
                 16    Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104–05 (N.D. Cal. 2017) (collecting N.D.
                 17    Cal. cases). Because Plaintiffs’ unfair prong claim relies on the same allegations as
                 18    their unlawful and fraudulent prong claims, the Court should dismiss the claim.7
                 19          F.     Plaintiffs Cannot State a CLRA Claim Because the EMAX Token
                 20                 is Not a “Good” or “Service” Subject to the CLRA.
                 21          Plaintiffs’ CLRA claim fails because EMAX Tokens are not “goods” or
                 22    “services.” Under the CLRA, “goods” means tangible chattels bought or leased for
                 23    use primarily for personal, family, or household purposes, including certificates or
                 24    coupons exchangeable for these goods, and including goods that, at the time of the
                 25    sale or subsequently, are to be so affixed to real property as to become a part of real
                 26    property, whether or not they are severable from the real property.” Cal. Civ. Code
                 27
                       7
                 28      To the extent Plaintiffs claim to assert a UCL violation under the fraudulent prong,
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                       it fails for all the reasons described supra Sections IV. C–D.
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                   1   § 1761(a) (emphasis added). “Services” means work, labor, and services for other
                   2   than a commercial or business use, including services furnished in connection with
                   3   the sale or repair of goods. Id. § 1761(b).
                   4         Virtual currency does not satisfy either definition. See Reeves v. Niantic, Inc.,
                   5   No. 21-cv-05883-VC, 2022 WL 1769119, at *2 (N.D. Cal. May 31, 2022) (finding
                   6   video game currencies are not goods because they “are not tangible” and explaining
                   7   “courts should not shoehorn transactions involving the purchase of intangible goods
                   8   into the [CLRA’s] definition of ‘services’”); Jeong v. Nexo Fin. LLC, No. 21-cv-
                   9   02392-BLF, 2022 WL 174236, at *23 (N.D. Cal. Jan. 19, 2022) (explaining “the
                 10    underlying ‘good’ in a cryptocurrency exchange is not a ‘tangible chattel’”); Doe v.
                 11    Epic Games, Inc., 435 F. Supp. 3d 1024, 1045–46 (N.D. Cal. 2020) (finding video
                 12    game currency is not a “good or service” because it was “digital,” not tangible;
                 13    explaining that the virtual currency “exist only as an indicia of the credit extended to
                 14    the [Fortnite player]”); I.B. ex rel. Fife v. Facebook, Inc., 905 F. Supp. 2d 989, 996
                 15    (N.D. Cal. 2012) (holding “Facebook Credits, ‘separate and apart from a specific
                 16    purchase or lease of a good or service,’ are not covered by the CLRA”); Berry v. Am.
                 17    Express Publ’g, Inc., 147 Cal. App. 4th 224, 228–29 (2007) (finding the issuance of
                 18    credit is not a good or service under the CLRA because while “a plastic credit card
                 19    is tangible . . . the card has no intrinsic value and exists only as indicia of the credit
                 20    extended to the card holder”). Thus, the Court should dismiss the CLRA claim with
                 21    prejudice.
                 22          G.     Plaintiffs Fail to State an Aiding and Abetting Claim.
                 23          Plaintiffs assert a California common law claim against the Celebrity
                 24    Defendants for purportedly aiding and abetting violations of the state consumer
                 25    protection statutes by the Individual Defendants. (CCAC ¶¶ 145–52.) This claim
                 26    fails because, as discussed supra Sections IV.B–F, Plaintiffs lack standing to assert
                 27    and do not otherwise plausibly allege violations of those statutes. This alone warrants
                 28    dismissal.
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                   1         Even if the Court considers the aiding and abetting claim further, however,
                   2   Plaintiffs cannot state a claim unless they plausibly allege that the Celebrity
                   3   Defendants: (1) had actual knowledge of the primary wrong and (2) gave substantial
                   4   assistance or encouragement to the principal wrongdoer. See In re First All. Mortg.
                   5   Co., 471 F.3d 977, 993 (9th Cir. 2006); Casey v. U.S. Bank Nat’l Ass’n, 127 Cal.
                   6   App. 4th 1138, 1152–53 (2005). Plaintiffs have failed to plead either.
                   7         “Knowledge is the crucial element” of an aiding and abetting claim. Casey,
                   8   127 Cal. App. 4th at 1145. “[T]he defendant must have ‘actual knowledge of the
                   9   specific primary wrong the defendant substantially assisted.’” In re First All. Mortg.
                 10    Co., 471 F.3d at 993. A defendant’s “vague suspicion of wrongdoing” or knowledge
                 11    of “wrongful or illegal conduct” in the abstract does not suffice. See id. at 993 n.4
                 12    (citation and quotation marks omitted).
                 13          Plaintiffs allege the Celebrity Defendants “knew or should have known that
                 14    the marketing strategy employed by the Individual Defendants for the EMAX Tokens
                 15    was unlawful, deceitful, fraudulent, and/or violated the terms of the California,
                 16    Florida, and New York state statutes.” (CCAC ¶ 149.) But “the phrase ‘knew or
                 17    should have known’ does not plead actual knowledge.” Neilson v. Union Bank of
                 18    California, N.A., 290 F. Supp. 2d 1101, 1118–19 (C.D. Cal. 2003). Plaintiffs
                 19    otherwise allege “[n]o facts are alleged supporting an inference that the . . .
                 20    Defendants knew” of the alleged violations. In re Hydroxycut Mktg. & Sales Pracs.
                 21    Litig., 299 F.R.D. 648, 657 (S.D. Cal. 2014). For example, Plaintiffs’ allegation
                 22    about Mayweather’s “experience” with “previous fraudulent cryptocurrency”
                 23    (CCAC ¶ 149), does not show knowledge by any Celebrity Defendant of the specific
                 24    violations alleged here.
                 25          Plaintiffs also fail to plausibly allege that the Celebrity Defendants
                 26    substantially assisted the alleged wrongdoing. Substantial assistance means that a
                 27    defendant’s actions were a “substantial factor” in causing the plaintiff’s alleged
                 28    injury. Neilson, 290 F.Supp.2d at 1118. Plaintiffs allege that these Defendants gave
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                   1   substantial assistance by promoting the EMAX token on their social media platforms,
                   2   which purportedly caused Plaintiffs to purchase or hold onto their EMAX tokens and
                   3   thereby suffer damages. (CCAC ¶¶ 150–51.) As explained supra Section II.D,
                   4   Plaintiffs do not allege that they saw specific endorsements by the Celebrity
                   5   Defendants named in the CCAC, which endorsement they saw or when they saw, or
                   6   even when they purchased EMAX Tokens.               Their allegations are therefore
                   7   insufficient to state an aiding and abetting claim against the Celebrity Defendants.
                   8         H.     Plaintiffs Fail to State a Common Law Civil Conspiracy Claims.
                   9         Plaintiffs’ common law conspiracy claim against all Defendants fails at the
                 10    outset because Plaintiffs fail to plead an underlying civil wrong.            “[A] civil
                 11    conspiracy does not give rise to a cause of action unless an independent civil wrong
                 12    has been committed.” Rusheen v. Cohen, 37 Cal. 4th 1048, 1062 (2006). Plaintiffs
                 13    do not allege which civil wrongs underlie their conspiracy claim. (See CCAC ¶¶
                 14    187–91.) But even if the Court construes the claim to refer to Plaintiffs’ substantive
                 15    claims, the conspiracy claim fails because Plaintiffs have failed to state such claims,
                 16    as discussed above. See Smith v. Wachovia, No. C 09-01300 SI, 2009 WL 1948829,
                 17    at *1 (N.D. Cal. July 6, 2009).
                 18          Plaintiffs otherwise fail to plead the elements of a conspiracy claim. To state
                 19    a conspiracy claim, “a plaintiff must allege the formation of the conspiracy (an
                 20    agreement to commit wrongful acts), the operation of the conspiracy (commission of
                 21    the wrong acts), and the damage resulting from such acts.” Lauter v. Anoufrieva, 642
                 22    F. Supp. 2d 1060, 1097 (C.D. Cal. 2009) (citations omitted). To plead formation and
                 23    operation, Plaintiffs must show that “the formation of a group of two or more persons
                 24    who have agreed to a common plan or design to commit a tortious act.” Kidron v.
                 25    Movie Acquisition Corp. 40 Cal. App. 4th 1571, 1582 (1995) (citations and internal
                 26    quotation marks omitted). Furthermore, “[t]he conspiring defendants must also have
                 27    actual knowledge that a tort is planned and concur in the tortious scheme with
                 28    knowledge of its unlawful purpose.” Id. Plaintiffs’ allegations additionally must
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                   1   satisfy Rule 9(b) because the underlying claims are grounded in fraud. See Swartz v.
                   2   KPMG LLP, 476 F.3d 756, 765 (9th Cir. 2007) (applying Rule 9(b) to a conspiracy
                   3   claim premised on common law fraud). But Plaintiffs’ conspiracy claim does not
                   4   satisfy Rule 9(b).
                   5         As discussed supra Section IV.A.2, Plaintiffs’ allegations do not plausibly
                   6   demonstrate a common plan or design among the Defendants to commit tortious acts
                   7   underlying Plaintiffs’ substantive claims. While Plaintiffs attempt to allege the
                   8   existence of a conspiracy, they do not plead facts plausibly showing that the
                   9   Defendants had actual knowledge of the alleged scheme. Furthermore, Plaintiffs
                 10    make virtually no mention of Defendants having knowledge of the alleged illegality
                 11    of any of the actions that other Defendants allegedly took. Constructive knowledge
                 12    cannot establish actual knowledge of illegality in promoting EMAX Tokens. Thus,
                 13    the Court should dismiss Plaintiffs’ conspiracy claim.
                 14          I.     Plaintiffs Fail to State Any Claim for Equitable Relief.
                 15          Plaintiffs seek equitable relief, including under the UCL, FAL, FDUTPA, N.J.
                 16    CFA, N.Y. GBL, and a standalone “unjust enrichment/restitution” claim. To plead
                 17    entitlement to equitable relief in federal court, a plaintiff “must establish that she
                 18    lacks an adequate remedy at law.” Sonner v. Premier Nutrition Corp., 971 F.3d 834,
                 19    844 (9th Cir. 2020). “[A] plaintiff must, at a minimum, plead that she lacks adequate
                 20    remedies at law if she seeks equitable relief.” Guthrie v. Transamerica Life Ins. Co.,
                 21    561 F. Supp. 3d 869, 875 (N.D. Cal. 2021) (collecting cases). Plaintiffs fail to allege
                 22    that they lack an adequate remedy at law, which alone requires dismissal of all claims
                 23    for equitable relief and the causes of action allowing only such relief.
                 24          Plaintiffs’ claims for equitable relief also fail because their claims are
                 25    duplicative of claims that provide adequate remedies at law. With respect to the
                 26    RICO claim, Plaintiffs seek various forms of damages for Defendants’ alleged
                 27    conduct. The conduct at issue in the RICO claim underlies their claims for equitable
                 28    relief under the UCL, FAL, FDUTPA, N.J. CFA, N.Y. GBL, and “unjust
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                   1   enrichment/restitution.”   Thus, dismissal of the claims for equitable relief is
                   2   warranted. See, e.g., Williams v. Apple, Inc., No. 19-CV-04700-LHK, 2020 WL
                   3   6743911, at *10 (N.D. Cal. Nov. 17, 2020) (dismissing with prejudice UCL claim as
                   4   duplicative of contract claims that provided adequate legal remedies); Huynh v.
                   5   Quora, Inc., 508 F. Supp. 3d 633, 662 (N.D. Cal. 2020) (collecting cases applying
                   6   Sonner to bar requests for injunctive relief under the UCL).
                   7         Plaintiffs also assert a standalone unjust enrichment claim under California
                   8   law. (CCAC ¶¶ 233–236.) But “California law does not recognize a cause of action
                   9   for unjust enrichment, so long as another cause of action is available that permits
                 10    restitutionary damages.” Martinez v. Hammer Corp., No. CV 09-06135 MMM
                 11    (AGRx), 2010 WL 11507562, at *6 (C.D. Cal. Jan. 29, 2010); see also Walker v.
                 12    Equity 1 Lenders Grp., No. 09cv325 WQH (AJB), 2009 WL 1364430, at *9 (S.D.
                 13    Cal. May 14, 2009) (similar); Swanson v. USProtect Corp., No. C 05-602 JF (HRL),
                 14    2007 WL 1394485, at *5 (N.D. Cal. May 10, 2007) (same). Because Plaintiffs assert
                 15    multiple other claims that provide restitution, the Court should dismiss Plaintiffs’
                 16    unjust enrichment claim with prejudice as a matter of law.
                 17    V.    CONCLUSION
                 18          For the foregoing reasons, Defendants request that the Court dismiss the
                 19    CCAC in its entirety.
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                 21    Dated: July 29, 2022                       COOLEY LLP
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                 23                                               By: /s/ Michael G. Rhodes
                 24                                                  Michael G. Rhodes

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                   1                                     ATTESTATION
                   2         I, Michael G. Rhodes, hereby attest that all other signatories listed above and
                   3   on whose behalf this filing is submitted concur in this filing’s content and have
                   4   authorized me to file on their behalf.
                   5                                                 /s/ Michael G. Rhodes
                   6                                                 Michael G. Rhodes
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